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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

JOSE MORENO, Individually and On Behalf                 NOTICE OF WITHDRAWAL
of All Others Similarly Situated,,

       Plaintiff,

vs.

POLARITYTE, INC., DENVER LOUGH, and                   Case No. 2:18-CV-00510-JNP-PMW
JEFF DYER,
                                                              Judge Jill N. Parrish
       Defendants.

       Sarah Elizabeth Spencer and Bryson R. Brown, of the law firm of CHRISTENSEN &

JENSEN, hereby withdraw and request they be removed from electronic notifications for this case.

       DATED this 7th day of September, 2018.

                                                   CHRISTENSEN & JENSEN, P.C.




                                                   Sarah Elizabeth Spencer
                                                   Bryson R. Brown
                                                   Attorneys for Movant Michael Motto
